TENDERED FOR F|LlNG

`, Case 2:18-cV-03239-C.]B-.]CW Document 4 Filed 04/02/18 Page 1 of 8

Pro Se 5 (Re\?. 12/16) Comp|aint for a Civil Case Alle§ing Ne§ligence

 

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§§ UNITED STATES DISTRICT COURT
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Plaintijj"(s)
(Write the full name of each plaintiff who is filing this complaint If
the names of all the plaintiffs cannot fit in the space above, please
write “see attached " in the space and attach an additional page

with the full list of names. )

Jury Trial: (check one) l:l Yes |:l No

..v..

Dr. Prentiss E. Smith
Lallie Kemp Regiona| N|edica| Center
52579 51 SOUTH |NDEPENDENCE, LA 70443

 

Dejendant(s)
(Write the full name of each defendant who is being sued, If the
names of all the defendants cannot fit in the space above, please
write “see attached " in the space and attach an additional page

with the full list of names. )

COMPLAINT FOR A CIVIL CASE ALLEGING NEGLIGENCE
(28 U.s.c. § 1332; Diversity or citizenship)

I. The Parties to This Complaint
A. The Plaintiff(s)

Provide the information below for each plaintiff named in the complaint Attaeh additional pages if

 

 

 

 

 

needed.
Name ROB|N W|LL|AIV|S
Street Address 508 WEST l\/|AGNOL|A STREET
City and County AM|TE
State and Zip Code LA 70422
Telephone Number 985~748-4552
E-mail Address ROB|N23815@MSN.COM

 

B. The Defendant(s)

Provide the information below for each defendant named in the complaint, whether the defendant is an
individual, a government agency, an organization, or a corporation For an individual defendant,
include the person's job or title (sznown). Attach additional pages if needed.

Page l of 5

 

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P\lS_e 5 (Re\l. 12/16) Comp|aint for a Civil Case Alle§ing Neg!igence

 

Defendant No. l

 

 

 

 

 

Name Lal|ie Kemp Regiona| lV|edica| Center
Job or Titlc (tfknown)

Street Address 52579 HWY 51 SOUTH

City and County lNDEPENDENCE

State and Zip Code LA 70443

Telephone Number 985 878 9421

 

E-mall AddI€SS (sznown)

 

Defendant No. 2

 

 

 

 

 

Name Dr. Prentiss E Smith
Job or Title (ifknown)

Street Address 7597 S. Bocage Street
City and County Baton Rouge

State and Zip Code La 70809

Telephone Number

 

E-mail AddreSS @fknown)

 

Defendant No. 3

Name

 

Job or Title (ifknown)
Street Address

City and County
State and Zip Code

 

 

 

 

Telephone Number

 

E-mail Address (ifknown)

 

Defendant No. 4

Name

 

JOb Ol' Title (ifknown)

 

Street Address
City and County
State and Zip Code

 

 

 

Telephonc Number

 

E-mail Address (ifknown)

 

Page 2 of 5

Pro Se 5 (Reil. 12/16) Complaint for aCivil Case Al|e `n Ne i ence

II.

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Basis for Jurisdiction

Federal courts are courts of limited jurisdiction (limited power). Under 28 U.S.C. § 1332, federal courts may
hear cases in which a citizen of one State sues a citizen of another State or nation and the amount at stake is
more than $75,000. In that kind of case, called a diversity of citizenship case, no defendant may be a citizen of
the same State as any plaintiff Explain how these jurisdictional requirements have been met.

A. The Plaintiff(s)

l. If the plaintiff is an individual
The plaintiff, (name) Robin Wi||iams , is a citizen of the

 

State of (name) Louisiana

 

2. If the plaintiff is a corporation
The plaintiff, (name) , is incorporated

under the laws of the State of (name) ,

 

and has its principal place of business in the State of (name)

 

(If more than one plaintijj" is named in the complaint, attach an additional page providing the
same information for each additional plainti]f)

B. The Defendant(s)

 

1. If the defendant is an individual
The defendant, (name) Dr Prentiss E Smith , is a citizen of
the State of (name) Louisiana . Or is a citizen of

 

(foreign nation)

 

 

2. If the defendant is a corporation
The defendant, (name) La||ie Kemp Regiona| lV|edica| Center , is incorporated under
the laws of the State of (name) Louisiana , and has its

 

principal place of business in the State of (name)

 

Or is incorporated under the laws of Uoreign narion) ,

 

and has its principal place of business in (name) |ndependence, La

 

(If more than one defendant is named in the complaint attach an additional page providing the
same information for each additional defendant.)

C. The Amount in Controversy

The amount in controversy-the amount the plaintiff claims the defendant owes or the amount at
stake-is more than $75,000, not counting interest and costs of court, because (explain):

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Pio Se 5 (Rev~f 12/16) Cdmplaint for a Civil Case Alleging Negligence

III.

IV.

 

Statement of Claim

Write a short and plain statement of the claim. Do not make legal arguments State as briefly as possible the
facts showing that each plaintiff is entitled to the damages or other relief sought. State how each defendant was
involved and what each defendant did that caused the plaintiff harm or violated the plaintiffs rights, including
the dates and places of that involvement or conduct If more than one claim is asserted, number each claim and
write a short and plain statement of each claim in a separate paragraph Attach additional pages if needed.

On (date) 06/30/1993 , at (place) |ndependence, La ,

the defendant(s): (l) performed acts that a person of ordinary prudence in the same or similar circmnstances
would not have done; or (2) failed to perform acts that a person of ordinary prudence would have done under the
same or similar circumstances because (describe the acts or failures to act and why they were negligent)

failed to perform proper medical workup before surgery
failed to properly diagnose and treat complications after surgery.
failed to inform patient of his condition, treatment choices and failed to obtain the patients informed consent

before surgeryP

 

 

The acts or omissions caused or contributed to the cause of the plaintiffs injuries by (explain)
wrongful death

 

Relief

State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
arguments Include any basis for claiming that the wrongs alleged are continuing at the present time. Include
the amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any
punitive or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or
punitive money damages

Would like to receive punitive damages for negligently hiring the doctor that caused a wrongful death.

 

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Prb Se 5 §Rev‘. 12/16) Cl)mplaint for a Civil Casc AllcE'ng Ne§igence

V.

Certification and Closing

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Under F ederal Rule of Civil Procedure l l, by signing below, I certify to the best of my knowledge, information,
and belief that this complaint (1) is not being presented for an improper purpose, such as to harass, cause

unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a

nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have

evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the

requirements of Rule ll.

A.

For Parties Without an Attomey

I agree to provide the Clerk’s Offlce with any changes to my address where case-related papers may be
served. I understand that my failure to keep a current address on file with the Clerk’s Office may result

in the dismissal of my case.

Date of signing:

 

Signature of Plaintiff
Printed Name of Plaintiff

For Attorneys

Date of signing:

 

Robin Williams

 

 

Signature of Attomey
Printed Name of Attomey
Bar Number

Name of Law Firm

Street Address

State and Zip Code
Telephone Number
E-mail Address

 

 

 

 

 

 

 

 

Page§ of 5

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Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, l certify to the best of my knowledge, information,
and belief that this complaint (l) is not being presented for an improper purpose, such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if speciiically so identitied, will likely have evidentiary support after a reasonable
opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the

requirements of Rule ll.
A. For Parties Without an Attorney
I agree to provide the Clerk’s Office with any changes to my address where case-related papers may be

served. l understand that my failure to keep a current address on file with the Clerk’s Office may result
in the dismissal of my case.

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Printed Name of Plaintiff Robin Wi|llams
B. For Attorneys

Date of signing:

 

Signature of Attomey

 

'Printed Name of Attomey

 

Bar Number

 

Name of Law Firm
Street Address
State and Zip Code

 

 

 

Telephone Number
E~ma.il Address

 

 

TENDERED FoR F|LlNG

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U.S. DlSTRlCT COURT
Eastern District of Louisiana
Deputy Clerk
Pagc 5 of 5

 

 

 

 

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